Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 1 of 36

                                                          FILED
                                                         JAN 30 2018
                                                        U.S. COURT OF
                                                       FEDERAL CLAIMS
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 2 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 3 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 4 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 5 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 6 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 7 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 8 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 9 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 10 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 11 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 12 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 13 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 14 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 15 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 16 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 17 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 18 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 19 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 20 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 21 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 22 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 23 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 24 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 25 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 26 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 27 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 28 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 29 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 30 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 31 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 32 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 33 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 34 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 35 of 36
Case 1:17-cv-01174-CFL Document 12 Filed 01/30/18 Page 36 of 36
